Case 7:16-cv-00141-WLS Document3 _ Filed 11/14/16 Pagei1of3

UNITED STATES DISTRICT COURT

for the
Middle Distriet of Georgia

KENNETH JOHNSON and JACQUELYN )
JOHNSON, et al.,

)
Plaintiffs

v. ) Civil Action No. 7:16-CV-00141-WLS
BRANDON BELL, et al., )
Defendants. )

SUMMONS IN A CIVIL ACTION

To: Branden Bell, Defendant
C/O M. Brice Ladson
LADSON LAW FIRM
10385 Ford Avenue
Richmond Hill, GA 31324

A lawsuit has been filed against you.

Within 21] days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a2) or (3) — you must serve onthe plaintiff an answer to the attached complaint ora motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Chevene B. King, Jr.
P.O. Box 3468
Albany, GA 31706-3468

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

See. — /

Signature of Clerk or Deputy Clerk

Date: | \-{ HIG

Case 7:16-cv-00141-WLS Document3_ Filed 11/14/16 Page 2of3

UNITED STATES DISTRICT COURT

for the
Middle District of Georgia
KENNETH JOHNSON and JACQUELYN )
JOHNSON, et al.,
)
Plaintiffs
v. ) Civil Action No. 7:16-CV-00141-WLS
BRANDON BELL, et al., )
Defendants. )
SUMMONS IN A CIVIL ACTION
To: Branden Bell, Defendant

C/O Patrick T. O’Connor
OLIVER MANER, LLP
218 W. State Street
Savannah, GA 31401

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a\(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Chevene B. King, Jr.
P. O. Box 3468
Albany, GA 31706-3468

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: \|- \44- IL

Signature of Clerk or Deputy Clerk

Case 7:16-cv-00141-WLS Document3 _ Filed 11/14/16 Page 3of3

UNITED STATES DISTRICT COURT
for the
Middle District of Georgia

KENNETH JOHNSON and JACQUELYN )
JOHNSON, et al.,

)
Plaintiffs
Vv. ) Civil Action No. 7:16-CV-00141-WLS
BRANDON BELL, et al., )
Defendants. J

SUMMONS IN A CIVIL ACTION

To: Branden Bell, Defendant
C/O Mark Glidewell
BRANNEN, SEARCY & SMITH, LLP
22 E. 34" Street
Savannah, GA 31401

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Chevene B. King, Jr.
P.O. Box 3468
Albany, GA 31706-3468

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

De 2e_)

Signature of Clerk or Deputy Clerk

pate:_1-IH- Ib

